Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 1 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 2 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 3 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 4 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 5 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 6 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 7 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 8 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 9 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 10 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 11 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 12 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 13 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 14 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 15 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 16 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 17 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 18 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 19 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 20 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 21 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 22 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 23 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 24 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 25 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 26 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 27 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 28 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 29 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 30 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 31 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 32 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 33 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 34 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 35 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 36 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 37 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 38 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 39 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 40 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 41 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 42 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 43 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 44 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 45 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 46 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 47 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 48 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 49 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 50 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 51 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 52 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 53 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 54 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 55 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 56 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 57 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 58 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 59 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 60 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 61 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 62 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 63 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 64 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 65 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 66 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 67 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 68 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 69 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 70 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 71 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 72 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 73 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 74 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 75 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 76 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 77 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 78 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 79 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 80 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 81 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 82 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 83 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 84 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 85 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 86 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 87 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 88 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 89 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 90 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 91 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 92 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 93 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 94 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 95 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 96 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 97 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 98 of 99
Case 2:12-cv-00410 Document 31-54 Filed on 01/26/15 in TXSD Page 99 of 99
